Case 01-01139-AMC Doc 2594-3 Filed 08/23/02 Page 1of2

IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE

In re: } Chapter 11

)
W. R. GRACE & CO,, et al.,' ) Case No. 01-01139 (IKF
)

) Jointly Administered

Debtors. )
AFFIDAVIT OF SERVICE
STATE OF DELAWARE )
\SS

COUNTY OF NEW CASTLE )

Patricia E. Cuniff, being duly sworn according to law, deposes and says that she is
employed by the law firm of Pachulski, Stang, Ziehl, Young & Jones P.C., co-counsel for the
Debtors, in the above-captioned action, and that on the 23rd day of August, 2002 she caused a
copy of the following document(s) to be served upon the attached service list(s) in the manner

indicated:

! The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.), W. R. Grace &
Co.-Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, inc. (f/k/a
Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food "N Fun Company, Darex Puerto Rico,
Inc., Del Taco Restaurants, Inc., Dewey and Aimy, LLC (ffc/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston
Lid. G C Limited Partners [, Inc. (f/k/a Grace Cocoa Limited Partners [, Inc), G C Management, Inc. (f/k/a Grace Cocoa
Management, Inc.}, GEC Management Corporation, GN Holdings, inc., GPC Thomasville Corp., Gloucester New Communities
Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace
Drilling Company, Grace Energy Corporation, Grace Environmental, {nc., Grace Europe, Inc., Grace H-G Inc., Grace H-G IIT
Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc. (f/k/a Dearborn International Holdings, Inc.}, Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures
Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal IL, Inc.,
Guanica-Caribe Land Development Corporation, Hanever Square Corporation, Hormco International, Inc., Kootenai
Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH, Inc., Asbestos
Management, Inc.), Monolith Enterprises, Incorporated, Monroe Strect, Inc., MRA Holdings Corp. (f/k/a Nestor-BNA Holdings
Corporation), MRA Intermedco, Inc. (f/k/a Nestor-BNA, Inc.), MRA Staffing Systems, Inc. (f/k/a British Nursing Association,
Inc.), Remedium Group, Inc. (fk/a Environmental Liability Management, Inc., B&C Liquidating Corp., Emerson & Cuming,
Inc.}, Southern Oil, Resin & Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross
Country Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.

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Case 01-01139-AMC Doc 2594-3 Filed 08/23/02 Page 2 of 2

1. Summarized Interim Fee Application of Steptoe & Johnson LLP for
Compensation for Services and Reimbursement of Expenses as
Special Tax Counsel to W.R. Grace & Co., Et AL, for the Second
Monthly Interim Period From May 1, 2002 Through May 31, 2002,
for The Quarter of April — June 2002; and

2. Fee Detail for Steptoe & Johnson LLP for Compensation for Services
and Reimbursement of Expenses as Special Tax Counsel to W.R.
Grace & Co., Et AL, for the Second Monthly Interim Period From
May 1, 2002 Through May 31, 2002, for The Quarter of April — June
2602.

Dated: August 23, 2002 Dok Oe LO. C Canis,

Patricia E. Cuniff

Sworn to and subscribed before
ry ¢ this 23rd day of August, 2002

LEST abals

Notary P yP rablic

My Commission Expires: Ohi Levitt

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